Case 2:99-CV-02043-BBD Document 140 Filed 06/30/05 Page 1 of 2 Page|D 169

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UNITED STATES DISTRICT COURTT ' 5 .
WESTERN DISTRICT 0F TENMBSME°‘ ~’“N 39 P" 3' 50

WESTERN DIVISION t CUU*§*§M§%%
\. ii W/D JFH»MFHSS

WILLIAM T. MOORER JUDGMENT IN A CIVIL CASE
v-
BAPTIST MEMORIAL HEALTH CASE NO: 99-2043-D

CARE SYSTEM, BAPTIST
MEMORIAL HEALTH CARE
CORPORATION, CATHY M. HILL,
And JOHN N. ROBBINS

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Setting Aside Judgment A.nd Dismissing Action With Prejudice entered
on June 20, 2005, this cause is hereby dismissed with prejudice.

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us 34 ,,10@/ THOMAS “'@°“'°

Clerk of Court

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(By) Deputy Cferk

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This notice confirms a copy of the document docketed as number 140 in
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July 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

